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     Federal Defender
 2   MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
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     Telephone: 559-487-5561/Fax: 559-487-5950
 5
     Attorneys for Defendant
 6   CONRADO VIRGEN MENDOZA
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     Case No. 1:19-cr-00015-DAD-BAM

12                       Plaintiff,                STIPULATION TO VACATE STATUS
                                                   CONFERENCE AND SET HEARING FOR
13   vs.                                           CHANGE OF PLEA; ORDER

14   CONRADO VIRGEN MENDOZA,                       DATE: January 21, 2020
                                                   TIME: 10:00 a.m.
15                      Defendant.                 JUDGE: Hon. Dale A. Drozd

16
17
            IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, that the status conference scheduled for December 9, 2019 at 1:00 p.m. be
19
     vacated, and that a change of plea hearing be scheduled for January 21, 2020 at 10:00 a.m.
20
            The parties have reached an agreement to resolve the two pending counts from the second
21
     superseding indictment, and a plea agreement has been executed. The plea agreement will be
22
     filed promptly, upon receipt of the original by the government. In order to accommodate defense
23
     counsel’s current caseload and travel schedule, the parties request the above-captioned date in
24
     January for the change of plea hearing.
25
            The parties agree that the ends of justice served by setting the change of plea hearing for
26
     the requested date outweigh the best interest of the public and the defendant in a speedy trial.
27
     Therefore the parties agree that time is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A),
28
     (B)(iv).
     Case 1:19-cr-00015-TLN-BAM Document 575 Filed 12/03/19 Page 2 of 2


 1                                                         Respectfully submitted,
 2                                                         MCGREGOR SCOTT
                                                           United States Attorney
 3
 4   DATED: December 3, 2019                               /s/ Karen Escobar
                                                           KAREN ESCOBAR
 5                                                         Assistant United States Attorney
                                                           Attorney for Plaintiff
 6
 7                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
 8
 9   DATED: December 3, 2019                               /s/ Megan T. Hopkins
                                                           MEGAN T. HOPKINS
10
                                                           Assistant Federal Defender
11                                                         Attorneys for Defendant
                                                           CONRADO VIRGEN MENDOZA
12
13                                                  ORDER

14            IT IS SO ORDERED that the status conference currently scheduled for December 9,

15   2019 at 1:00 p.m. is hereby vacated, and a change of plea hearing is set for January 21, 2020 at

16   10:00 a.m. The time period between December 9, 2019 and January 21, 2020 is excluded under

17   the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends of

18   justice served by granting the requested hearing date outweigh the best interest of the public and

19   the defendant in a speedy trial.

20
     IT IS SO ORDERED.
21
         Dated:       December 3, 2019
22                                                     UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28

       VIRGEN MENDOZA: Stipulation and [Proposed]    -2-
       Order to Set COP Hearing
